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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ATS TREE SERVICES, LLC,

                           Plaintiff,              Civil Action No.2:24-cv-01743
             v.
FEDERAL TRADE COMMISSION,

                           Defendant.

     BRIEF OF AMICI CURIAE NATIONAL RETAIL FEDERATION, NATIONAL
 FEDERATION OF INDEPENDENT BUSINESS SMALL BUSINESS LEGAL CENTER,
INC., INTERNATIONAL FRANCHISE ASSOCIATION, ASSOCIATED BUILDERS AND
      CONTRACTORS, INC., AMERICAN HOTEL & LODGING ASSOCIATION,
  NATIONAL ASSOCIATION OF WHOLESALER-DISTRIBUTORS, INDEPENDENT
   ELECTRICAL CONTRACTORS, CONSUMER TECHNOLOGY ASSOCIATION,
 UNITED STATES COUNCIL FOR INTERNATIONAL BUSINESS, THE HOME CARE
   ASSOCIATION OF AMERICA, AND THE RESTAURANT LAW CENTER (THE
“AMICI”) IN SUPPORT OF PLAINTIFF’S MOTION FOR STAY OF EFFECTIVE DATE
         AND PRELIMINARY INJUNCTION (THE “MOTION”), ECF NO. 10


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                               I.     PRELIMINARY STATEMENT

        The eleven amici represent thousands of companies that collectively employ tens of millions

of employees at all levels across virtually every facet of the U.S. economy. The Federal Trade

Commission’s Non-Compete Clause Rule, 16 C.F.R. Part 910 and 912 (May 7, 2024) (the “Final

Rule” or “F.R.”), is based on cherrypicked data that predictably supports the result desired by the

Commission’s majority, while ignoring or summarily dismissing data that contradicts its preferred

policy outcome. But the data the Commission selectively chose to credit bears no rational

relationship to the amici’s centuries of collective experience concerning how employers in their

respective industries use noncompetes. The Final Rule is the very definition of arbitrary and

capricious rulemaking. The Court should grant Plaintiff’s Motion.

                         II.        INTEREST OF THE AMICI CURIAE

        The amici are national and international trade organizations (descriptions of which are

included as Exhibit A), and their interest in the outcome of the litigation is that most of their members

would qualify as “employers” under the Final Rule and the Final Rule would upend their contractual

relations with their workforces.

              III.   INTRODUCTION AND SUMMARY OF ARGUMENTS

        The Commission clearly lacks authority to ban noncompetes. However, to avoid repeating

arguments Plaintiff has made in support of the Motion, which the amici fully endorse, the amici

instead focus this brief on additional arguments that further justify injunctive relief, namely that the

Final Rule is arbitrary and capricious.

        Specifically, the Final Rule is contradicted by centuries-old law dating back to the founding

of our nation, legal principles that form the bedrock of our justice system, and basic logic. It cannot

be afforded any deference for at least two reasons.



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       First, the Final Rule is a textbook example of arbitrary and capricious rulemaking. Whether a

method of competition is unfair has always been an individualized assessment in a particular factual

context arising among specific workers, employers, and competitors. Here, the Commission deviated

from that inquiry and decreed that the test for determining whether noncompetes are unfair is whether

they could theoretically result in generalized social outcomes that the Commission views as negative

in the aggregate—ignoring the benefits of permitting employers and employees the freedom to bargain

over reasonable post-employment restrictions.

       In doing so, the Commission ignores that, since its birth, our nation has maintained a

deeply-rooted history and tradition recognizing noncompetes as contractual relationships

necessary to protect the legitimate business interests of employers—relationships that have been

the province of state law for over 200 years. As with any contract, they are the product of a

bargained-for-exchange, the terms of which can be fair and, in some cases, more than fair to

workers. But unlike other contracts, courts already subject noncompetes to a reasonableness

inquiry, and some states impose heightened consideration requirements, all of which is specifically

designed and intended to protect workers.

       Worse yet, to support its pre-set agenda to ban noncompetes, the Commission’s stated

reasoning for the Final Rule is incoherent, relies on cherrypicked data, and ignores the myriad

concrete benefits of noncompetes. In other words, despite spending more than a year crafting the

Final Rule after posting the Notice of Proposed Rulemaking (“NPRM”), the best the Commission

could manufacture to support its predetermined outcome is a collection of poorly reasoned, self-

serving, and aggrandizing conclusions. That is the sine qua non of arbitrary and capriciousness.

       Second, as an administrative agency, the Commission is led and staffed by unelected

bureaucrats who are not politically accountable. The Commission borrows derivative and expressly



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delegated Congressional authority. Such authority is predicated and contingent on the Commission

complying with certain procedural safeguards designed to hold administrative agencies like the

Commission to public account, such as the public comment period for proposed rulemaking. In

mandating the Final Rule, the Commission shirked this democratic safeguard. The Commission

failed to account for the significant points made in the public comments that highlight the numerous

logical fallacies in the Final Rule, and either ignored or summarily dismissed a multitude of

thoughtful and well-reasoned comments. If permitted to stand, the Commission’s Final Rule poses a

real threat to executive accountability.

        Because the Final Rule is the result of demonstrably arbitrary and capricious rulemaking

that was plainly intended to reach a predetermined policy outcome, it must be afforded no

deference. Plaintiff’s request for injunctive relief is appropriate and necessary to avoid the

immediate and irreparable harm the Final Rule would impose on the hundreds of thousands of

American businesses that appropriately rely on narrowly tailored noncompetes to protect their

sensitive business information, customer relationships, and competitive postures, not to mention

the benefits millions of American workers enjoy in exchange for their agreement not to unfairly

compete with their former employers for a limited period of time post-employment.

                                      IV.   ARGUMENT

        As detailed further below, former Commissioner Christine Wilson’s thoughtful and well-

reasoned dissent to the NPRM is equally germane to the Final Rule, if not more so given that the

Commission spent more than a year since announcing the NPRM “finetuning” its purported rationale

for taking such draconian action. See Dissenting Statement of Commissioner Christine S. Wilson

Concerning the Notice of Proposed Rulemaking for the Non-Compete Clause Rule, FEDERAL TRADE

COMMISSION (Jan. 5, 2023). In addition to acting far beyond the authority Congress has granted to



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it, as set forth in Plaintiff’s Brief, the Commission’s findings in support of the Final Rule are a classic

case of arbitrary and capricious rulemaking.

        A.      The Commission Premised the Final Rule on a Seriously Flawed Cost-Benefit
                Analysis: The Commission Cherrypicks Data to Support its Pre-Set Agenda to
                Strike Down Noncompetes while Ignoring Well-Established Evidence of Their
                Benefits.

        The Administrative Procedures Act (the “APA”) “requires agencies to engage in ‘reasoned

decisionmaking.’” Dep’t of Homeland Sec. v. Regents of the Univ. of California, 140 S. Ct. 1891,

1905 (2020) (quoting Michigan v. EPA, 576 U.S. 743, 750 (2015) and others). That means an

agency “must examine the relevant data and articulate a satisfactory explanation for its action

including a ‘rational connection between the facts found and the choice made.’” Motor Vehicle

Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 30 (1983) (quoting

Burlington Truck Lines v. United States, 371 U.S. 156, 168 (1962)) Agency decisions that are not

the product of reasoned decisionmaking are arbitrary and capricious and must be held unlawful

and set aside under the Administrative Procedure Act (“APA”). 5 U.S.C.A. § 706(2)(A); see, e.g.,

United States v. Garner, 767 F.2d 104, 117–18 (5th Cir. 1985); Action on Smoking and Health v.

C.A.B., 699 F.2d 1209, 1218 (D.C. Cir. 1983).

        The arbitrary and capricious standard under the APA focuses on the rationality (or lack

thereof) of the agency’s articulated rationale, as opposed to the substance of the decision. “It is

well-established that an agency’s action must be upheld, if at all, on the basis articulated by the

agency itself.” Motor Vehicle Mfrs. Ass’n of U.S., Inc., 463 U.S. at 50). Post-hoc explanations “are

simply…inadequate.” Garner, 767 F.2d at 117. Courts may not supply reasoned bases for an

agency’s decision that the agency failed to provide. SEC v. Chenery Corp., 332 U.S. 194, 196

(1947). Similarly, courts must not simply accept any stated reason that the agency happens to

provide for its decision; agency decisions that fail to consider “an important aspect of the problem”


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or that run “counter to the evidence before the agency” are arbitrary and capricious. Motor Vehicle

Mfrs. Ass’n of U.S., Inc., 463 U.S. at 43.

       Here, the Commission provided five rationales for the Final Rule that it claims to have

arrived at by assessing a series of studies: (1) noncompetes are regularly used for low wage

workers; (2) noncompetes reduce workers’ wages; (3) noncompetes stifle new business and ideas;

(4) employers regularly coerce workers into signing noncompetes; and (5) noncompetes harm

consumers. See F.R. 7–21. None of these rationales match the extensive experience of the amici in

their respective industries.

               1. Noncompetes are not regularly used for low wage workers.

       In the amici’s collective experience, low wage workers are almost never subject to

noncompetes in their respective industries. Indeed, the amici discourage such practices. While there

are always outliers, the Commission cites no empirical evidence that the use of noncompetes with

low wage workers is the norm, only anecdotes. But low wage workers are only one facet of the

workforce. And anecdotes are not evidence of a systemic issue.

       Behind the scenes in each of the amici’s industries there are all manner of employees who

have access to their employers’ most sensitive business and technical information, as well as

relationships with their employers’ vendors and customers. These roles can range from senior

executives, to finance, to marketing, to buyers, to information technology, to supply chain, to

logistics—and many other roles where employees are compensated well in exchange for agreeing

to reasonable noncompetes. If any such employee were free to leave at will, cross the street, and

immediately start working for a direct competitor in the same or similar capacity, loss of highly

confidential information is virtually inevitable—notwithstanding trade secret law and applicable

confidentiality agreements—and by the time it is discovered it is often too late. However, properly

tailored noncompetes can protect against such inevitable harm.
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        Indeed, if protecting low-wage workers were truly the Commission’s concern, it could have

taken a far more modest approach, as several states have recently done, such as limiting the Final

Rule based on some form of generally applicable compensation threshold as Oregon, Illinois,

Massachusetts, Maine, Maryland, New Hampshire, Rhode Island, Virginia, Washington, Nevada,

Colorado, and the District of Columbia have done. See Epstein Becker & Green, P.C. 50-State

Noncompete Survey (2023), https://tinyurl.com/52r2tu65. A full-scale ban goes well beyond what

would be appropriate to accomplish the Commission’s purported goal of protecting low-wage

workers. Given the lack of evidence that noncompetes are regularly used with low-wage workers

and the statutory protections already in place for employees in several states—with more following

the trend of placing restrictions on the use and enforcement of noncompetes each year, see id.—the

Final Rule is akin to using a sledgehammer to kill a fly.

                2. Noncompetes do not reduce workers’ wages.

        Second, “[t]he Commission estimates that the final rule will increase workers’ total earnings

by an estimated $400 billion to $488 billion over ten years, at the ten-year present discounted value.”

F.R. 321. In other words, $40 to $48.8 billion per year. As an initial matter, this is a far cry from the

Commission’s initial estimate just last year in the NPRM that the proposed rule “would increase

workers’ total earnings by $250 to $296 billion annually.” F.R. 441 (emphasis added). The

Commission attempts surreptitiously to bury this six-fold decrease in estimated increased earnings

to employees in the middle of its 570-page Final Rule without any explanation for the discrepancy

in a number that the Commission initially touted as one of the primary bases for the purported need

to ban noncompetes, including in a New York Times Op-Ed by the Chair. See Lina M. Khan,

“Noncompetes Depress Wages and Kill Innovation,” New York Times (Jan. 9, 2023),

https://www.nytimes.com/2023/01/09/ opinion/linakhan-ftc-noncompete.html (“Surveying the

literature, F.T.C. economists conservatively estimate that noncompetes suppress American workers’
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income by roughly 3 percent to 4 percent, or $250 billion to $296 billion.”) (emphasis added). That,

in and of itself, renders the Final Rule arbitrary and capricious.

        Nevertheless, to support this conclusion, the Commission relies predominantly upon a

2023 study co-authored by a Commission employee, purporting to “find[] that non-competes limit

workers’ ability to leverage favorable labor markets to receive greater pay.” F.R. 141. The

Commission contends that “this study has the broadest coverage” and “is very robust.” Id. But

what the Commission omits is that in an earlier version of this study—the version cited in the

NPRM—the authors acknowledged that noncompetes “might increase incentives for firms to

invest in training, knowledge creation, and other portable assets . . . that could increase their

workers’ productivity and earnings.” Matthew S. Johnson, Kurt Lavetti, and Michael Lipsitz, The

Labor    Market     Effects   of   Legal    Restrictions   on    Worker     Mobility.   SSRN      (2021),

https://ssrn.com/abstract=3455381. The same study admitted that its findings with respect to the

effect of noncompetes on wages were based on a “back of the envelope calculation using an out-

of-sample extrapolation,” and even then it only “implies” that banning noncompetes would

increase wages. Id. Yet that went completely unmentioned in the Final Rule.

        Indeed, as the Commission acknowledges (but then summarily dismisses), there are, in fact,

reputable studies showing correlationally exactly the opposite of what the Commission claims—i.e.,

that workers who are presented with noncompetes before accepting job offers receive higher wages

and more training, and are more satisfied in their jobs than those who are not bound by noncompetes.

Evan P. Starr, et al., Noncompete Agreements in the US Labor Force, 64 J. L. & Econ. 53, 53 (2021).

As former Commissioner Wilson aptly pointed out in her dissent to the NPRM, the research on this

subject “reveals a mixed bag. . . . An alternative interpretation of these findings is that the scientific

literature is still muddled as to who is helped and who is harmed by non-compete clauses.”



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       Regardless, the Commission’s bald conclusion is simply not borne out in the amici’s

experience in their respective industries. To the contrary, employees are often asked to voluntarily

sign noncompetes in connection with long term incentive plans, as consideration for discretionary

bonuses, or in connection with promotions or generous separation packages. These not only provide

consideration for the noncompete, but can be very substantial, which obviously increases the

recipient’s overall compensation. While they may not be “wages” per se, these are potentially

lucrative forms of compensation that would not be provided in many cases absent the protection of

noncompetes.

               3. Noncompetes do not stifle new business and ideas.

       Third, noncompetes do not stifle innovation in the amici’s respective industries. If

noncompetes really did make markets less competitive and discourage new ideas, then, until recently,

most innovation in the U.S. would have come from California, North Dakota, and Oklahoma—the

only states prohibiting post-employment noncompetes until Minnesota passed legislation doing so

in mid-2023. But that is not the case, with many of the more recent hubs of innovation being in states

that enforce noncompetes, including Arizona, Massachusetts, Texas, and Utah.

       The Commission’s claim that abolishing noncompetes fosters innovation by removing

barriers to information sharing is self-defeating because the Commission simultaneously claims

that employers will mitigate the damage a prohibition on noncompetes would cause by swapping

noncompetes for other barriers to information sharing, such as non-disclosure agreements

(“NDAs”) and trade secret protections, without any cogent data to suggest that such other barriers

affect innovation differently than noncompetes. To be sure, banning noncompetes nationwide

would likely weaken competition, in that new market entrants would be at enhanced risk of having

key employees and critical information, techniques, and strategies stripped from them by well-



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heeled large companies. One might think the Commission would want to encourage small business

formation of this sort.

               4. Employers do not regularly coerce workers into signing noncompetes.

       Fourth, it is simply untrue that employers in the amici’s respective industries regularly coerce

employees into signing noncompetes. While there undoubtedly are bad actors, the Commission has

cited no evidence that employers regularly—or even often—coerce employees to sign noncompetes.

To suggest otherwise ignores that employees often receive substantial consideration in exchange for

signing noncompetes, not only in the form of a job, a salary, and benefits, but often also equity and

other potentially lucrative forms of compensation, as discussed above.

       The Commission claims that there is unequal bargaining power between employers and

employees. While that may have been true historically for certain positions, that paradigm has

shifted in the post-COVID era, as open positions often outstrip demand among the pool of available

employees, and some businesses have been forced to close for lack of staffing. In any event, eight

states and the District of Columbia have enacted laws to address this purported inequity by

requiring advance notice of noncompetes often weeks before they are to take effect, giving

employees time to make informed decisions before accepting new jobs and resigning from old

ones, and notice of a right to counsel, all of which would address any bargaining-power disparity

favoring the employer. See Epstein Becker & Green, P.C. 50-State Noncompete Survey (2023),

https://tinyurl.com/52r2tu65.

               5. Noncompetes do not harm consumers.

       Finally, far from harming consumers in the amici’s respective industries, noncompetes

benefit them in various ways. For example, it is a truism in any industry that an increase in the cost

of wages—indeed, virtually all increased costs—is passed along to the consumer. Assuming the

opposite is illogical. Indeed, as former Commissioner Wilson pointed out in her dissent, the NPRM

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(and now the Final Rule) “omits studies showing that reducing the enforceability of non-compete

restrictions leads to higher prices for consumers.” Thus, to the extent that noncompetes drive down

wages (which the amici deny), even the Commission admits that lower prices are the natural result:

“By suppressing workers’ earnings, non-competes decrease firms’ costs, which firms may

theoretically pass through to consumers in the form of lower prices.” F.R. 197.

       The opposite is indisputably true too; if noncompetes are prohibited, any increase in the cost

of wages will likewise be passed along to consumers in the form of higher prices. Again, the

Commission acknowledges that “it is theoretically possible that higher labor costs could be passed

on to consumers in the form of higher prices,” but quickly and curiously dismisses that possibility,

summarily concluding that “there are several countervailing effects from prohibiting non-competes

that would tend to lower prices.” F.R. 200.

       B.      The Commission’s “Reasoning” is Fallacious, Internally Inconsistent,
               Confirmation Bias Dressed as “Empirical Evidence.”

       Upon closer inspection, and after wading through the Commission’s mire of qualifications

and hedges, the Commission’s “empirical evidence” is vanishingly thin and self-contradictory. The

amici initially intended to highlight all the fallacies in the Commission’s reasoning, but space

constraints preclude the amici from listing them all. Nevertheless, this brief sets out a

representative sample of the significant contradictions and fallacies in the Commission’s so-called

“reasoning” that demonstrates just how arbitrary and capricious the Final Rule is.

            1. The Commission’s Reliance on “Empirical” “Data” is Thin, Inconsistent, and
               Highly Suspect.

       What the Commission lacks in legal authority, it fails to make up for with either logical

principles or cogent quantitative analysis. For instance, when commenters pointed to academic

writings, including 2019 research by one of the Commission’s own economists stating that there was

limited evidence about the effects of noncompetes, the Commission responded by noting

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dismissively that the author wrote in his personal capacity and that “[t]he Commission finds these

writings are generally outdated and disagrees with them,” F.R. 152, despite being from 2019 and that

the Commission relied on far older data. Yet when faced with anecdotes and conjecture from

anonymous and unverified individual commenters that support its preordained outcome, the

Commission has no such reservations.

        When confronted with issues in the methodologies or resulting conclusions of studies the

Commission cites in support of the Final Rule, the Commission either downplays or altogether denies

reliance on those studies in issuing the Final Rule. To illustrate, the Commission cites a study

suggesting that noncompetes negatively affect the race and gender gap for support of its Final Rule.

F.R. 141. More than fifteen pages later, and only when confronted with a commenter’s criticism of its

reliance on that study, does the Commission state that it “does not rest its finding in this final rule that

non-competes tend to negatively affect competitive conditions on findings of increased discriminatory

behavior or exacerbation of gender and wage gaps.” F.R. 158.

        Similarly, despite its earlier bravado that noncompetes affect consumer pricing, the

Commission tucked away a note admitting that the empirical literature on the effects of

noncompetes on consumer pricing is thin—even thinner than the “evidence” on which the

Commission relied with regard to new business formation and innovation (almost all of which had

to be qualified and/or was criticized by experts, including the studies’ own authors). F.R. 196. This

informational bait-and-switch occurs with so much frequency, the amici have difficulty identifying

the “empirical evidence” that the Commission actually relied on to pass the Final Rule.

        Furthermore, the Commission appears to have selected the studies it chose to credit not

based on scientific methodology, but on whether the outcome corresponded with the

Commission’s pre-set agenda to ban noncompetes. To illustrate, the Commission references



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Professor Evan Starr 115 times and Professors Norman Bishara and J.J. Prescott another 46 times

each in its commentary, yet it cherrypicks which individual findings of those studies to credit.

The Commission relies extensively on the three professors’ seminal noncompete study for its

conclusions that noncompetes are used with all manner of employees, F.R. 15–16, that

employees rarely “seek assistance of counsel in connection with non-competes,” id. 125, and

that “employers frequently use non-competes even when they are unenforceable under State

law,” id. 437. Yet the Commission curiously gave only “minimal weight” to that study’s

conclusion that workers who are presented with noncompetes before accepting job offers receive

higher wages and more training, and are more satisfied in their jobs than those who are not bound

by noncompetes, because it “does not find that this evidence represents a causal relationship.”

Id; see also id. 311 (“Commenters asserted that Starr, Prescott, and Bishara found that notice of

noncompetes alongside a job offer is positively correlated with training compared to later notice.

In response, the Commission notes that the evidence is a correlation between early notice and

training, not a causal finding, so the Commission gives it minimal weight.”). Similarly, the

Commission gives curiously “little weight” to several other studies showing that noncompete

use is associated with higher earnings because they “merely reflect correlation and are unlikely

to reflect causation.” Id. 146. This is a common refrain throughout the Commission’s

commentary when faced with a study’s result it does not care for. See, e.g., id. 150, 152, 240,

311, 418.

        But in giving this back-of-the-hand treatment to disfavored findings, the Commission

overlooks the inconvenient fact that virtually all the studies it chose to rely on are themselves

correlational and not causational; indeed, the Commission itself identifies only one study it relied upon

that even “attempts to identify [a] causal link.” F.R. 284. The Commission’s apparent lack of qualms



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about relying on correlational studies that support its preferred policy outcome belies the

Commission’s stated rationale for dismissing contrary findings as “merely” correlational.

       In what can only be described as a self-serving attempt to explain which studies it chose to

weigh more heavily, the Commission states that it “gives more weight to studies with

methodologies that it finds are more likely to yield accurate, reliable, and precise results,” and then

goes on to identify five “guiding principles” that give the Commission virtually unfettered

discretion in determining which studies to credit. F.R. 107–11. Moreover, the Commission

acknowledges that “[w]hile these five guiding principles are important indicators of the relative

strength of empirical studies evaluated by the Commission for the purpose of this final rule, the

Commission’s assessment of empirical studies was holistic and relied on its economic expertise.”

Id. 111. In other words, the Commission set its own subjective and unspecified standards for

determining which studies to credit, which it may or may not (it does not actually say) have

disregarded in favor of an undefined “holistic” assessment based on its purported “economic

expertise.”1 Unsurprisingly, this results-oriented “analysis” led to the Commission crediting only

those studies that support the worldview its Chair has publicly espoused for years.




       1
          Almost comically, the Commission claims this purported “expertise” based on its
assertion that “non-competes have already been the subject of FTC scrutiny and enforcement
actions, so subjecting them to rulemaking is a more incremental—and thus less significant—step
than it would be for an agency to wade into an area not currently subject to its enforcement
authority” F.R. 39. What the Commission leaves out, however, is that these three “enforcement
actions,” all of which ended in consent decrees, were announced just one day before it announced
the NPRM, which ostensibly was timed so that the Commission could claim such expertise.
Indeed, in the press release announcing the enforcement actions, the Commission acknowledged
that “these actions mark the first time that the agency has sued to halt unlawful noncompete
restrictions.” See FTC Cracks Down on Companies that Impose Harmful Non-Compete
Restrictions on Thousands of Workers, FEDERAL TRADE COMMISSION (Jan. 4, 2023), https://www.
ftc.gov/news-events/news/press-releases/2023/01/ftc-cracks-down-companies-impose-harmful-
noncompete-restrictions-thousands-workers.
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       The Commission’s logic is lacking in several other respects. For instance, the Commission

cites a study of Hawaii’s tech industry noncompete and no-poach ban to make conclusions about

noncompetes, dismissing the effect on wages from the no-poach ban as unlikely to have a “major

effect” (whatever that means), in part because while no-poach agreements “may prevent some

workers from hearing about some job opportunities, [] unlike noncompetes, they do not prevent

workers from taking those opportunities.” F.R. 155. The Commission must have a very dim view

of its audience if it expects anyone to believe that preventing a worker from learning of a job does

not also mean preventing the worker from taking it.

       Additionally, the Commission asserts that noncompetes have long been “disfavored” as a

reason to eliminate them, F.R. 6, while ignoring that they have nevertheless existed since the

nation’s founding because of their recognized value despite how supposedly “disfavored” they

may be. The Commission’s view that “existing case-by-case and State-by-State approaches to non-

competes have proven insufficient to address the tendency of non-competes to harm competitive

conditions in labor, product, and service markets,” F.R. 5, is fallacious for the reasons set forth

above. But even if true, the Final Rule is not the solution.

       Indeed, many state legislatures have been revising their noncompete laws, some recently

enough that the statistics upon which the Commission bases its rationale are outdated and not

reflective of the current market realities. For instance, the data the Commission used to claim that

30 million workers are subject to a noncompete is from 2019, F.R. 14, before Illinois passed the

Illinois Freedom to Work Act, 820 ILCS 90/1, et seq. (as just one example), and before the

pandemic changed the landscape of remote work. Indeed, the Commission’s conclusions are based

on outdated data; to illustrate, the most recent data in a study the Commission touts as “very robust”

is already a decade old. F.R. 141.



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       Better, more recent data has become available, such as a 2023 report issued by the Federal

Reserve Bank of Minnesota that calls into question many of the assumptions in the Commission’s

analysis, finding, for example, that only 11.4%, not 20–25% (as the Commission claims), of

workers are subject to a noncompete. See Tyler Boesch, et al., “New data on noncompete contracts

and what they mean for workers,” FEDERAL RESERVE BANK OF MINNEAPOLIS (June 21, 2023),

https://www.minneapolisfed.org/article/2023/new-data-on-non-compete-contracts-and-what-

they-mean-for-workers. Notably, while Minnesota is the only state to ban noncompetes in well

over a century, every other state that has considered doing so since 1890 has either enacted

compromise legislation that suits the needs of its own economy and preferred socioeconomic

outcomes, and balances the interests of all stakeholders, or has done nothing.2

       Moreover, several of the “studies” the Commission cites are more accurately described as

“surveys” that ask employees and employers about their experience with noncompetes, and then

extrapolate and draw conclusions from the survey results. See, e.g., Starr, et al., supra § A.2. But

this methodology has at least one major flaw. Specifically, as the term “noncompete” is a common

colloquialism used to refer to all manner of post-employment restrictive covenants, the survey

respondents, no matter how sophisticated they are, may not distinguish between noncompetes and

other types of post-employment restrictions, claiming to be bound by “noncompetes” when that is

not technically accurate. See Comment of Practicing Attorneys, FTC-2023-0007-21073, at p. 30.

While the surveys may be designed to avoid this, that is easier said than done, as the Commission

itself concedes in another context: “Many of the comments from small businesses, as well as from

other commenters, appear to confuse non-competes with other types of agreements, such as non-

solicitation agreements or NDAs, and argue that non-competes are needed to prevent former


       2
           Michigan banned noncompetes in 1905, but repealed the ban in 1985.

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workers from taking the employer’s customers or clients or disclosing confidential information.”

F.R. 535. In other words, the Commission relies on surveys that necessarily require the surveyed

employees to fully understand this distinction, and assumes that they do, but dismisses comments

from small business owners and others for purportedly not being able to do so.

       These examples are only a small subset of the logical and statistical fallacies pervading the

Commission’s analysis. That the Commission made selective choices among stale data in support

of its pre-set agenda does not a reasoned decision make.

               2. The Commission’s Reliance on “Qualitative” “Data” from Worker
                  Comments is Misplaced.

       Perhaps a nod to the gaping holes in its quantitative analysis, the Commission relies heavily

in numerous places on the “qualitative evidence” of the harms of noncompetes as “demonstrated”

by workers in the comments to the NPRM, stating that “the comments provide strong support for

the Commission’s finding that non-competes are exploitative and coercive because they trap

workers in jobs or force them to bear significant harms and costs.” F.R. 131; see also id. 10–14,

119–121, 127–28, 147–49, 163, 360, 366, 368, 378. The Commission’s reliance on certain

comments for support, while ignoring and downplaying others, is questionable at best and certainly

not grounds to overhaul employment relationships for hundreds of thousands of employers and

tens of millions of employees nationwide.

       First, the “exemplary” comments the Commission decided to pull from the 26,000+

submitted are from workers in various industries, such as asphalt sales, power-washing,

bartending, etc., as well as from physicians and other professionals. Id. 11.3 While those


       3
         The Commission asserts that “Among these [26,000+] comments [it received], over
25,000 expressed support for the Commission’s proposal to categorically ban non-competes.” F.R.
10. But that is a red herring. It is also unsurprising. It is, of course, far simpler to email a one or
two sentence message of support, as many of these 25,000+ commenters did, than to prepare a
thoughtful, substantive opposition, as most of the opponents did. Not to mention, the companies
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individuals may bring their personal perspectives and speculations about market conditions and

forces, the overwhelming majority of worker-commenters lack the economic and analytic

backgrounds to assess the relevant factors on a sociological scale or to determine whether a

complete ban on noncompetes would actually help their economic condition (as opposed to

potential less-draconian regulations).

       Second, commenters are neither a monolith in support of a total ban, nor are they

necessarily representative of the average worker subject to a noncompete, as the Commission

would have the public believe. The Commission claims that thousands of the 25,000 comments

supporting the Final Rule were from workers who have been subject to noncompetes. F.R. 10. But

that figure undoubtedly conflates support for additional regulations of noncompetes with a total

ban, or at the very least infers positions from comments that are not necessarily intended.

       Third, the Commission overplays worker support of its ban. Although “thousands” of

workers submitted supportive comments, F.R. 10, that is only a miniscule percentage of the 30

million Americans the Commission claims are subject to noncompetes (less than one tenth of one

percent, in fact). Furthermore, the Commission inexplicably ignores the participation bias in that

figure because only workers with strong negative experiences are likely to comment publicly. The

Commission completely ignored the 29.99 million or so impacted American workers (according

to its own count) who lacked strong enough views to comment. Because the worker-commenters

are not a random sample, they are not representative of the general population. Additionally, as the




that oppose the Commission’s efforts are all possible targets of the Commission’s enforcement
activities—hence the dearth of individual company responses in opposition to the NPRM, and their
reliance instead on industry organizations like the amici to communicate their views. This is likely
another reason the Commission announced the resolution of several enforcement actions just one
day before announcing the NPRM—ironic, indeed, given the Commission’s stated distaste for the
purported in terrorem effects of noncompetes.
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Commission noted, “[f]ew workers who submitted comments reported being compensated for

signing a non-compete[,]” F.R. 123, rendering them poor representatives. Accordingly, the

Commission’s “strong” reliance on anecdotal evidence of anonymous and unverified commenters

is unfounded and irrational.

       Fourth, the amici cannot ignore that the Commission uses worker-commenters’ anecdotal

allegations of illegal workplace conduct, such as sexual harassment, to exemplify harms

purportedly caused by noncompetes. F.R. 126. While these are no doubt serious issues, they have

nothing whatsoever to do with the Commission’s authority under Section 5 of the FTC Act, no

matter how broadly the Commission interprets that authority. Moreover, that logic is absurd and

highly disrespectful to victims of workplace misconduct. The cause of sexual harassment is the

sexual harasser. Congress and the states have already created a comprehensive statutory and

regulatory framework to address sexual harassment in the workplace and that framework is

overseen by other agencies. Critiques of the efficacy of those regulations should be addressed to

the agencies with appropriate Congressional authority over such issues not made into a strawman

argument for an overbroad national mandate on a completely unrelated issue from unelected

bureaucrats who have no expertise in workplace harassment and no authority to address it.

               3. In Producing the Final Rule, the Commission Shirks One of the Only
                  Democratic Safeguards to its Unelected Bureaucratic Regime by Failing to
                  Respond to Several Significant Comments

       The APA sets out strict rulemaking requirements for agencies like the Commission to follow

before promulgating legislative rules, rules like the Final Rule, that will have the force and effect of

law. 5 U.S.C.A. § 553. It is a three-step process starting with (1) the agency issuing a notice of

proposed rulemaking, followed by (2) notice of a public comment period, and finished with (3) the

agency considering and responding to significant comments received during the public comment

period. Id.; Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 96 (2015). The process is designed to
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“‘assure[] fairness and mature consideration of rules having a substantial impact on those

regulated.’” United States v. Johnson, 632 F.3d 912, 931 (5th Cir. 2011) (alteration in original)

(citation omitted); see also Louisiana Forestry Ass’n Inc. v. Sec’y U.S. Dep’t of Lab., 745 F3d 653,

676 (3d Cir. 2014) (purpose of the notice-and-comment process is “to give the public an opportunity

to participate in the rulemaking process,” and to “enable[] the agency promulgating the rule to

educate itself before establishing rules and procedures which have a substantial impact on those

regulated”) (alteration in original) (citation omitted). And yet, the Commission ignored the APA in

numerous respects.

       First, the exception for senior executives containing both a salary threshold and a policy-

making duties test was not in the NPRM and, therefore, was not subject to public comment or the

procedural safeguards inherent therewith. And the Commission cannot explain why future

noncompetes with senior executives are so egregious as to warrant banning forevermore, yet existing

noncompetes with the same class of employee are fine. Indeed, this “exception” is so ambiguous and

poorly conceived that even the Chair does not fully understand it.4 Second, where, as here, the agency

blindly maintains commitment to its position that noncompetes should be banned despite evidence in

the comments undermining the rationale for its conclusion, the agency fails to demonstrate that the




       4
        During a recent interview on CNBC, the Chair said the following in response to a question
about the use of noncompetes with television personalities, who are decidedly not “senior
executives” under the Final Rule: “If you have a current contract that reflects the fact that this
noncompete is in the contract, your compensation package probably also reflects that. We don’t
want to disturb that because we realize that for people who are doing very well for themselves,
who are well-situated to bargain, the contract and the compensation already reflects the value of
the noncompete.” Interview by Andrew Ross Sorkin with Lina Khan, CNBC, in New York, NY
(Apr. 25, 2024) (emphasis added). But while that is an accurate factual statement, and perhaps
should be the policy, it is not what the Final Rule actually says. Not even close.

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proposed rule is a product of reasoned decisionmaking.5 See, e.g., Chamber of Com. of U.S. v. SEC, 85

F.4th 760, 777–80 (5th Cir. 2023).

       As it stands, the Commission is a regulating body consisting of unelected political appointees

and staffed by career bureaucrats that has shirked one of the only democratic safeguards on its

otherwise unfettered authority. Just as former Commissioner Wilson said in her dissent to the NPRM,

the amici are, and respectfully submit that the Court should be, “dubious that three unelected

technocrats have somehow hit upon the right way to think about non-competes, and that all the

preceding legal minds to examine this issue have gotten it wrong. The current rulemaking record

does not convince [the amici] otherwise,” nor should it the Court.

                                         V.    CONCLUSION

       For the foregoing reasons, the amici respectfully submit that the Court should grant

Plaintiff’s Motion and stay the effective date of the Final Rule.

                                     [Signatures on following page]




       5
         Indeed, the Commission failed to even address certain kinds of agreements (i.e., direct hire
fee provisions) that were raised by commenters such as the Home Care Association of America. See
89 FR 38371. The failure to even acknowledge (let alone explain) the impact of this rule on such
agreements raised in the comments violates the APA on its face.
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Respectfully submitted,

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